United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 1 of 22
                                                             form of $300 to the IJU, a designated foreign terrorist
                                                             organization. Although his actions certainly are sufficient
                2018 WL 3490886
                                                             for the jury to have found him guilty of these two very
   Only the Westlaw citation is currently available.
                                                             serious crimes, the above summary illustrates how his guilt
     United States District Court, D. Colorado.
                                                             rests on far less culpable conduct than that of all other
        UNITED STATES of America, Plaintiff,                 defendants of which I have been made aware who have
                        v.                                   been convicted under the same statute.
         2. Bakhtiyor JUMAEV, Defendant.

           Criminal Case No. 12-cr-00033-JLK                                              I.
                           |
                  Signed 07/18/2018
                                                                                 BACKGROUND
Attorneys and Law Firms
                                                             Mr. Jumaev is a 51-year-old Muslim immigrant. He was
Gregory Allen Holloway, Beth N. Gibson, David Alan           born in 1966, in Samarkand, Uzbekistan. At that time,
Tonini, Julia K. Martinez, U.S. Attorney's Office, Denver,   Uzbekistan was part of the Soviet Union and subject to
CO, Erin Martha Creegan, Kiersten Jennifer Korczynski,       repressive Soviet policies that basically outlawed religion,
U.S. Department of Justice-DC-Counterterrorism,              including Islam, the majority religion in Uzbekistan. In
National Security Division, Washington, DC, for              that environment, Mr. Jumaev completed grade school,
Plaintiff.                                                   obtained vocational training in cooking and trading in
                                                             goods, served as a cook in Ukraine in the Soviet Army,
David Barry Savitz, David B. Savitz, Law Office,             and worked in his relatives’ tombstone business. He also
Emily Elizabeth Boehme, Mitchell Baker, Mitch Baker,         married and started a family.
Attorney at Law, Denver, CO, for Defendant.
                                                             Then, in 1991, Uzbekistan became a sovereign state with
                                                             Islam Karimov as its President. During Karimov’s 25-
           MEMORANDUM OPINION                                year reign, repressive policies and government controls
          AND ORDER ON SENTENCING                            took on new forms. Individuals were permitted to practice
                                                             Islam but only as the regime saw fit. Religious figures
JOHN L. KANE, SENIOR U.S. DISTRICT JUDGE
                                                             were persecuted by the government for not adhering to
 *1 After his co-defendant Jamshid Muhtorov informed         its specifications. Access to information and freedom of
him that the Islamic Jihad Union (IJU) was in need of        the press were greatly restricted as well. In fact, Freedom
financial support, Defendant Bakhtiyor Jumaev mailed         House, a nonpartisan think tank in Washington, D.C.,
Mr. Muhtorov $300. Mr. Jumaev wrote only a single            consistently gave Uzbekistan some of the lowest possible
check, and the funds never reached the IJU or any other      ratings for the existence of democratic freedoms. Trial Tr.
foreign terrorist organization. Mr. Jumaev had no specific   at 1007:2-25; ECF No. 1832.
plot or plan and did not intend to further any via his
contribution. The idea to aid the terrorist organization     In the mid- to late-1990s, the economy in Uzbekistan
was proposed and facilitated entirely by Mr. Muhtorov.       suffered, and a large segment of the population began
Indeed, Mr. Jumaev had no direct contact with the            to migrate to other places in search of employment. Mr.
members of any terrorist organization. And, significantly,   Jumaev likewise suffered from the economic situation
he never committed any act of violence, nor did he           and ultimately left his family in Uzbekistan to work in
advocate for any particular violent act.                     Israel for two and a half years to support them. After he
                                                             returned to Uzbekistan, in 1999, Mr. Jumaev was found
Mr. Jumaev now comes before me for sentencing after          by the Uzbek security service, known as the SNB, to be in
having been found guilty by a jury of two counts in          possession of cassette tapes of religious leaders who were
violation of 18 U.S.C. § 2339B, namely (1) conspiring        disfavored by the government. As a result, he was jailed,
and (2) attempting to provide material support in the        interrogated, and beaten.



              © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     1
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 2 of 22
 *2 These circumstances prompted Mr. Jumaev to travel          around a dozen. The organization has been affiliated with
to the United States the following year on a temporary         al-Qaeda and the Afghan Taliban and has fought U.S. and
visa. He first came to New York City, but settled in           coalition forces in Afghanistan.
Lehighton, Pennsylvania, and then Philadelphia. Soon
after arriving, he was struck by a car when riding a bicycle   In February 2010, Mr. Jumaev was detained by U.S.
and was severely injured. He could not work, depended on       Immigration and Customs Enforcement for overstaying
others for support, and was unable to send money to his        his visa, and his bond was set at $3,000. In order to be
family in Uzbekistan during his year-long convalescence.       released and to return to work, Mr. Jumaev borrowed
Over the following decade, Mr. Jumaev found steady             various amounts from friends and acquaintances,
employment as a gas station attendant and a custodian,         including $500 from Mr. Muhtorov.
living a meager lifestyle so that he could consistently send
money to his wife and three sons. He frequently worked         Mr. Jumaev struggled to manage his and his family’s debts
night shifts and traveled hours to and from his jobs. Still,   after his arrest, so he did not pay Mr. Muhtorov back
he talked with his family on almost a daily basis until his    for many months. Mr. Muhtorov routinely hinted to Mr.
arrest in this case.                                           Jumaev that he was having financial difficulties. And,
                                                               eventually, in March 2011, Mr. Muhtorov relayed that
Mr. Jumaev met his codefendant Jamshid Muhtorov in             the IJU, with which he had been communicating over the
December 2009 when one of his roommates arranged for           internet, was in dire need of financial support. Gov’t Trial
Mr. Muhtorov to stay in their apartment for a month            Ex. 125A at 2. Mr. Jumaev gathered $300, and used a
while Mr. Muhtorov obtained his commercial driver’s            friend’s check to send the money to Mr. Muhtorov. A few
license. Mr. Muhtorov was also from Uzbekistan, and he         days later, Mr. Jumaev asked Mr. Muhtorov if he had
and his family had moved as refugees to Denver in 2006.        received the “wedding gift.” Gov’t Trial Ex. 128A at 1. 1
He had similarly experienced brutality at the hands of the     The check was later delivered and used by Mr. Muhtorov’s
Uzbek authorities and was exploring his Muslim faith in        wife for their family’s expenses.
the United States.
                                                                *3 Mr. Muhtorov bragged to Mr. Jumaev and others for
Over the months that passed, Mr. Jumaev and Mr.                months about his scheme to go to Turkey to study and
Muhtorov developed a long-distance friendship in which         then to travel to “the wedding.” Mr. Jumaev encouraged
they discussed a wide variety of topics, such as their         Mr. Muhtorov and even stated that he was envious. See
families, Islam, current events, and the immigrant             Gov’t Ex. 131A at 3. In January 2012, Mr. Muhtorov
experience in the U.S. They also conversed about               put his plans into action. He purchased a one-way ticket
the Islamic Jihad Union and the Islamic Movement               to Turkey and discussed with his wife the possibility of
of Uzbekistan (IMU), the history of the two foreign            him not returning. Before boarding the plane, though, Mr.
terrorist organizations, and related propaganda videos         Muhtorov was arrested. He was carrying $2,865 in cash,
they found online. In speaking about these organizations,      two new iPhones, and a new iPad.
Mr. Jumaev and Mr. Muhtorov often used ambiguous
code words, like wedding, resort, Switzerland, alpinists,      After Mr. Muhtorov’s arrest, FBI agents interviewed
and sportsmen. It is clear from their communications,          Mr. Jumaev twice at his house. Mr. Jumaev was not
though, that they both sympathized with the principal          fully forthright with the agents during those interviews,
goal of the two organizations−to overthrow the regime of       specifically as to his use of code words with Mr.
Islam Karimov.                                                 Muhtorov, the full scope of their discussions, and his
                                                               internet activity. On March 15, 2012, Mr. Jumaev was
According to Dr. Guido Steinberg, a renowned expert in         arrested and was interrogated by FBI agents for three and
terrorism, the Islamic Jihad Union spun off from its older     a half hours. He has been in detention since that date.
sister the Islamic Movement of Uzbekistan around 2001
or 2002 to focus their efforts globally and not just on        Regrettably, the complexities of the evidence and the
Uzbekistan. In its heyday, from 2006 to 2009, the IJU had      nature of the charges delayed the commencement of
at most 100 to 200 members, but many considered it to          Mr. Jumaev’s trial until March 12, 2018. The trial was
be mostly obsolete by 2009 as its numbers dwindled to          extensive, lasting seven weeks and involving hundreds of



               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                      2
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 3 of 22
exhibits and tens of witnesses. The resources expended          *4 I have previously notified the parties that I find the
−to bring foreign witnesses and experts here, to depose        U.S. Sentencing Guidelines to be illogical and inadequate
witnesses abroad, to ensure accurate translations, to          for sentencing Mr. Jumaev. I elaborate on that conclusion
sift through mountains of evidence, and to exhaustively        further below. But, first, I calculate the applicable
litigate the relevant issues−were great.                       Guidelines range as required. See Gall v. United States,
                                                               552 U.S. 38, 49 (2007). If the following calculation is in
But Mr. Jumaev was entitled to a fair trial and put forward    error, however, it has no impact on the eventual sentence.
the type of legitimate defenses that necessitate a trial.      See United States v. Sabillon-Umana, 772 F.3d 1328,
He argued that he was only repaying his debt to Mr.            1334 (10th Cir. 2014) (acknowledging that remanding
Muhtorov, a duty that, in his culture, was incredibly          for resentencing does not help the defendant or enhance
important. He claimed he was oblique about the debt            the integrity of judicial proceedings when a district judge
repayment because, according to Uzbek custom, it would         analyzes a case under alternative theories and indicates
have been inappropriate and even offensive to directly         he or she would arrive at the same sentencing conclusion
discuss debt repayment. Additionally, he presented Mr.         either way); United States v. Gieswein, 887 F.3d 1054,
Muhtorov as an exaggerator who he thought was full of          1062-63 (10th Cir. 2018).
hot air. And Mr. Jumaev sought to demonstrate that any
admissions he made during his post-arrest interrogation
were involuntary, equivocal, and inconsistent.                 A. Calculation of the Guidelines Range
                                                               U.S. Sentencing Guideline § 2M5.3(a) sets the Base Level
The jury deliberated over 15 hours and recessed for            for a conviction under 18 U.S.C. § 2339B at 26. Mr.
a weekend before returning the verdict. The jurors             Jumaev’s two counts are grouped together under the
undoubtedly took their responsibilities seriously and          Sentencing Guidelines because they involve a common
returned the verdict only after careful consideration of the   criminal objective and constitute part of a common
evidence presented and the law given.                          scheme or plan. See U.S.S.G. § 3D1.2. 3 Mr. Jumaev has
                                                               no known criminal history, making his Criminal History
Post-verdict, I have received and reviewed the initial         Category I. So, without any adjustments or departures,
and final Presentence Investigation Reports (ECF Nos.          Mr. Jumaev’s Guidelines range would be 63 to 78 months’
1885 & 1915), Mr. Jumaev’s Objections (ECF No. 1910)           imprisonment.
and the Addendum (ECF No. 1916) to the Presentence
Report, the government’s Amended Sentencing Statement          The Guideline for convictions under 18 U.S.C. § 2339B,
(ECF No. 1884), Mr. Jumaev’s Sentencing Statement              however, provides for a two level increase “[i]f the
and Motion for a Variant Sentence (ECF No. 1908),              offense involved the provision of (A) dangerous weapons;
Mr. Jumaev’s Supplement thereto (ECF No. 1917), and            (B) firearms; (C) explosives; (D) funds with the intent,
Mr. Muhtorov’s Memorandum Regarding Sentencing                 knowledge, or reason to believe such funds would be used
Guidelines (ECF No. 1918). Mr. Jumaev additionally             to purchase any of the items described in subdivisions (A)
submitted a letter he authored to the Court (ECF No.           through (C); or (E) funds or other material support or
1919) in which he stands on his innocence and iterates         resources with the intent, knowledge, or reason to believe
that he has been denied his right to a speedy trial and        they are to be used to commit or assist in the commission
other arguments as to why he believes he was denied            of a violent act ....” U.S.S.G. § 2M5.3(b)(1).
a fair trial. I have considered all of these submissions,
including the contents of Mr. Jumaev’s letter, in reaching     The government claims that Mr. Jumaev had a reason
the conclusions detailed below.                                to believe that the funds he provided would be used to
                                                               obtain dangerous weapons or firearms or to commit or
                                                               assist in the commission of a violent act. As support, it
                                                               relies on Mr. Jumaev’s viewing of IJU and IMU terrorist
                            II.
                                                               propaganda videos, his discussions with Mr. Muhtorov
                                                               on their duty to participate in the “wedding,” and his
 THE U.S. SENTENCING GUIDELINES RANGE 2                        comments on YouTube videos in support of violent jihad.
                                                               Mr. Jumaev was familiar with the IJU’s purpose and its



               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     3
United States v. Jumaev, Slip Copy (2018)
   USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 4 of 22
activities and readily admitted to knowing that it was a         to Mr. Jumaev’s offenses, his sentencing range would
foreign terrorist organization. Thus, he necessarily had a       skyrocket to 360 months’ imprisonment.
reason to believe, at a minimum, that any funds provided
to the IJU would have been used to commit or assist in the       The government’s argument regarding application of
commission of a violent act. I find the two-level increase       the Terrorism Enhancement is disappointing. For such
under § 2M5.3(b) is applicable. That finding bumps Mr.           a “draconian” enhancement, 4 I would expect the
Jumaev’s offense level up to 28, resulting in a range of         government to muster more than a single paragraph
imprisonment of 78 to 97 months.                                 justifying its application. The government’s entire
                                                                 argument is:
That is not the end of the story, though. For crimes related
to terrorism, I must evaluate the application of the so-           The record is replete with evidence that JUMAEV and
called Terrorism Enhancement in U.S.S.G. § 3A1.4. And,             MUHTOROV intended to retaliate against the actions
here, I must also address the government’s suggestion              of both the Uzbek and United States Government.
that I apply the Obstruction of Justice Enhancement in §           Further, the offense conduct here was plainly one that
3C1.1 as well as Mr. Jumaev’s entreaty that I apply the            “involved, or was intended to promote,” the crimes
mitigating role adjustment in § 3B1.2 and the criminal             listed above. U.S.S.G. § 3A1.4(a). Indeed, violations
history and aberrant behavior departures in §§ 4A1.3 and           of 18 U.S.C. § 2339B, the counts of conviction, are
5K2.20, respectively.                                              specifically listed in the definition of a “Federal crime
                                                                   of terrorism.” JUMAEV explained his anger at both
                                                                   the Uzbek and U.S. government to agents during
Adjustments                                                        his interview on March 15, 2012. Accordingly, the
                                                                   defendants’ offense level [sic] should be increased by 12
1. § 3A1.4: Terrorism Enhancement
                                                                   levels.
 *5 The Terrorism Enhancement, when applied, “takes
a wrecking ball” to the initial Guidelines range. George         Gov’t’s Am. Sentencing Statement at 10-11, ECF NO.
D. Brown, Punishing Terrorists: Congress, the Sentencing
                                                                 1884. 5 Mr. Jumaev, in turn, spends seven pages
Commission, the Guidelines, and the Courts, 23 Cornell
                                                                 presenting the specific standard for application of the
J.L. & Pub. Pol’y 517, 520 (2014). It functions by both
                                                                 enhancement and demonstrating that the record does not
increasing the offense level at least 12 levels and elevating
                                                                 fulfill that standard. If I were to base my ruling on the
the defendant to the highest Criminal History Category,
                                                                 efforts of the parties alone, I would find the enhancement
irrespective of his or her actual criminal history. In full,
                                                                 inapplicable. I do not, however, fall into this temptation.
the Terrorism Enhancement states:

  (a) If the offense is a felony that involved, or was           I base my ruling instead on the standard taken from
     intended to promote, a federal crime of terrorism,          United States v. Awan, 607 F.3d 306, 313 (2d Cir. 2010).
     increase by 12 levels; but if the resulting offense level   There, the Second Circuit explained that the disjunctive
     is less than level 32, increase to level 32.                phrase from U.S.S.G. § 3A1.4−if the offense involved,
                                                                 OR was intended to promote, a federal crime of terrorism
  (b) In each such case, the defendant’s criminal history        −“makes clear that the predicate offense must either (1)
    category from Chapter Four (Criminal History and             ‘involve’ a federal crime of terrorism or (2) be ‘intended
    Criminal Livelihood) shall be Category VI.                   to promote’ a federal crime of terrorism, and that each
                                                                 clause has a separate meaning.” Awan, 607 F.3d at
U.S.S.G. § 3A1.4. The “federal crime of terrorism” the           313. “A defendant’s offense ‘involves’ a federal crime of
Enhancement references is that defined in 18 U.S.C.              terrorism when his offense includes such a crime, i.e., the
§ 2332b(g)(5): “[A]n offense that−(A) is calculated              defendant committed, attempted, or conspired to commit
to influence or affect the conduct of government                 a federal crime of terrorism as defined in 18 U.S.C.
by intimidation or coercion, or to retaliate against             § 2332b(g)(5), or his relevant conduct includes such a
government conduct; and (B) is a violation of−[a list            crime.” Id. at 313-14. Since Mr. Jumaev’s convictions
of enumerated offenses, including] (i) section ... 2339B         are under 18 U.S.C. § 2339B, a crime enumerated in
(relating to providing material support to terrorist             § 2332b(g)(5)(B), I must only find, under that prong,
organizations) ....” If the Enhancement were to apply


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                       4
United States v. Jumaev, Slip Copy (2018)
   USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 5 of 22
that Mr. Jumaev had the “specific intent” to commit              I cannot and do not find, under the “involves” prong,
offenses that were “calculated to influence or affect the        that Mr. Jumaev’s offenses were “calculated to influence
conduct of government by intimidation or coercion, or to         or affect the conduct of government by intimidation or
retaliate against government conduct.” See id. at 316-17.        coercion, or to retaliate against government conduct.”
“ ‘Calculation’ is concerned with the object that the            Although Mr. Jumaev may have wished for the overthrow
actor seeks to achieve through planning or contrivance ...       of Uzbek President Islam Karimov or perhaps even for
Section 2332b(g)(5)(A) does not focus on the defendant           the U.S. government to alter its foreign policy, his offenses
but on his ‘offense,’ asking whether it was calculated, i.e.,,   were not calculated to achieve that object. See Awan, 607
planned−for whatever reason or motive−to achieve the             F.3d at 314. My best justification for that determination
stated object.” Id. at 317.                                      is common sense. Mr. Jumaev gave only $300 to a person
                                                                 who himself was short on cash and did not even know
 *6 Alternatively, “[t]he ‘intended to promote’ prong            how to get the money to the intended organization. If
applies where the defendant’s offense is intended to             Mr. Jumaev’s offenses were truly calculated towards a
encourage, further, or bring about a federal crime of            political objective, Mr. Jumaev would have done more,
terrorism, even though the defendant’s own crime of              e.g., contributed more money on more occasions via a
conviction or relevant conduct may not include a federal         more reliable conduit to a more robust organization.
crime of terrorism.” Id. at 314. So, even if Mr. Jumaev’s        Simply put, his offenses were not calculated at all.
offenses were not “calculated to influence or affect the
conduct of government by intimidation or coercion, or            To fall within the “intended to promote” prong, Mr.
to retaliate against government conduct,” the terrorism          Jumaev must have committed his offenses with the
enhancement may apply if, with his offenses, he intended         intent to help bring about, encourage, or contribute
to promote another’s commission of a crime in § 2332b(g)         to another person’s commission of a federal crime of
(5)(B) that was. See id. at 314-15. “[A]n offense is ‘intended   terrorism. 6 Again, I am unable to find that Mr. Jumaev
to promote’ a federal crime of terrorism when the offense        intended anything more than to repay his debt. The
is intended to help bring about, encourage, or contribute        record does contain evidence that Mr. Jumaev would
to” such a crime. Id. at 314.                                    have approved of the commission of certain federal crimes
                                                                 of terrorism. But, as Mr. Jumaev asserts, there is no
Under both the “involves” or the “intended to promote            evidence in the record that he knew about, and certainly
prong,” then, the Terrorism Enhancement only applies             not that he intended to promote, any plan by the IJU to
if I find that Mr. Jumaev had some intent that was               commit a politically-motivated crime of terrorism. This is
not required for the jury to find him guilty. See Jury           underscored by the fact that Mr. Jumaev never had any
Instructions at 25, 29, ECF No. 1794-2 (requiring only           direct contact with the IJU and that the organization was
knowledge for convictions under 18 U.S.C. § 2339B). I            nearly defunct at that time. Even if it were sufficient for
struggle to find that Mr. Jumaev had either the specific         Mr. Jumaev to have intended generally to bring about,
intent to commit crimes that were calculated to influence,       encourage, or contribute to federal crimes of terrorism,
affect, or retaliate against a government or the intent to       the government has not conclusively established that he
promote another’s federal crime of terrorism when the            sent Mr. Muhtorov the $300 check with that intent.
jury’s conviction of him could rest only on his knowledge.       I, therefore, find that the Terrorism Enhancement is
Mr. Jumaev convincingly argues that he both could
                                                                 inapplicable to Mr. Jumaev’s offenses. 7
have intended to repay his debt to Mr. Muhtorov while
knowing that the funds would go to support a foreign
terrorist organization. I have no reason to believe that         2. § 3C1.1: Obstruction of Justice Enhancement
Mr. Jumaev would have ever sent money to the IJU if he            *7 The government additionally contends that the two-
had not been arrested by ICE and been loaned money by            level Obstruction of Justice Enhancement appears to
Mr. Muhtorov. Mr. Jumaev’s offenses are the result of a          apply because Mr. Jumaev committed perjury in testifying
convergence of factors that I detail throughout this Order,      at trial and provided materially false information to the
the most significant of which is that he owed a debt. The        Court. The enhancement only applies when:
facts of this case are unique for that reason.




               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                         5
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 6 of 22
                                                              Muhtorov was an exaggerator and braggart but thought
            (1)    the    defendant     willfully             it was insufficient to counter his knowledge. I will not
            obstructed or impeded, or attempted               presume.
            to obstruct or impede, the
            administration of justice with                    In over forty years of judging I have never imposed a
            respect to the investigation,                     harsher sentence because a defendant asserted his right
            prosecution, or sentencing of the                 to trial by jury or to testify at that trial. I am not
            instant offense of conviction, and                about to do so now or in the future. I consider any trial
            (2) the obstructive conduct related               “tax” or penalty to be contrary to the ages-long values
            to (A) the defendant’s offense
                                                              and standards of our legal system. 9 It is more closely
            of conviction and any relevant
                                                              associated with the jurisprudence of Russia, as described
            conduct; or (B) a closely related
                                                              by Dostoyevsky, than our own tradition as described
            offense ....
                                                              by Benjamin Cardozo. In that vein, application of the
U.S.S.G. § 3C1.1. Application Note 4 to the Guideline         Obstruction of Justice Enhancement here would be a
provides as examples of qualifying conduct: “committing,      violation of the concepts of justice and of ordered liberty.
suborning, or attempting to suborn perjury, ... if such
perjury pertains to conduct that forms the basis of the
                                                              3. § 3B1.2: Mitigating Role Adjustment
offense of conviction” and “providing materially false
                                                               *8 Mr. Jumaev first argues that his offense level should
information to a judge or magistrate judge.”
                                                              be decreased two to four levels under U.S.S.G. § 3B1.2(a)
                                                              and (b) because his role in the offense was appreciably less
In determining what constitutes perjury for the purposes
                                                              than Mr. Muhtorov’s. U.S.S.G. § 3B1.2 instructs:
of the Obstruction of Justice enhancement, I rely on the
federal criminal perjury statute, 18 U.S.C. § 1621. “A                     Based on the defendant’s role in
witness testifying under oath or affirmation violates this                 the offense, decrease the offense
statute if she gives false testimony concerning a material                 level as follows: (a) If the defendant
matter with the willful intent to provide false testimony,                 was a minimal participant in any
rather than as a result of confusion, mistake, or faulty                   criminal activity, decrease by 4
memory.” United States v. Dunnigan, 507 U.S. 87, 94                        levels. (b) If the defendant was a
(1993). “[N]ot every accused who testifies at trial and is                 minor participant in any criminal
convicted will incur an enhanced sentence under § 3C1.1                    activity, decrease by 2 levels. In cases
for committing perjury .... [The accused’s] testimony                      falling between (a) and (b), decrease
may be truthful, but the jury may nonetheless find the                     by 3 levels.
testimony insufficient to excuse criminal liability or to
prove lack of intent.” Id. at 95.                             U.S.S.G. § 3B1.2. While Mr. Jumaev’s culpable conduct
                                                              overall certainly pales in comparison to Mr. Muhtorov’s,
I will not speculate from the jury’s verdict what testimony   he was not a minimal or minor participant in the crimes
it rejected and what it accepted, and I cannot conclude, as   with which he was convicted. Mr. Muhtorov made contact
the government does, that its conviction of Mr. Jumaev        with IJU and was to deliver the funds, but the support that
establishes that his testimony was false. The government      was to be provided originated with Mr. Jumaev and he was
provides as examples of his “lies” his testimony “that        aware of and a participant in the full scope of the crime.
his $300 payment to MUHTOROV was repayment of
a debt and not intended for the IJU, that he thought
MUHTOROV was joking when he told the defendant                Departures
about his contact with the IJU, and that he did not
                                                              1. § 5K2.20: Aberrant Behavior Departure
[believe] 8 MUHTOROV intended to travel in order to           Moving on to the departures Mr. Jumaev suggests, a
join the IJU.” Gov’t Am. Sentencing Statement at 11.          downward departure may be warranted under U.S.S.G.
But the jury could have convicted Mr. Jumaev even             § 5K2.20 “in an exceptional case” if “(1) the defendant’s
while finding all of those statements to be true. Perhaps     criminal conduct meets the requirements of subsection (b);
the jurors believed Mr. Jumaev’s testimony that Mr.


              © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                      6
United States v. Jumaev, Slip Copy (2018)
   USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 7 of 22
and (2) the departure is not prohibited under subsection       from a departure under U.S.S.G. § 4A1.3 as well. Section
(c).” U.S.S.G. § 5K2.20(a). Here, none of the prohibitions     4A1.3 provides: “If reliable information indicates that
in subsection (c) apply. Subsection (b) reads:                 the defendant’s criminal history category substantially
                                                               over-represents the seriousness of the defendant’s criminal
            The court may depart downward                      history or the likelihood that the defendant will commit
            under this policy statement only                   other crimes, a downward departure may be warranted.”
            if the defendant committed a                       U.S.S.G. § 4A1.3(b)(1). The Terrorism Enhancement
            single criminal occurrence or                      would move Mr. Jumaev, a 51-year-old with no criminal
            single criminal transaction that (1)               history, from a Criminal History Category of I to VI.
            was committed without significant                  “A judge determining that [the Terrorism Enhancement]
            planning; (2) was of limited                       over-represents ‘the seriousness of the defendant’s past
            duration; and (3) represents a                     criminal conduct or the likelihood that the defendant will
            marked deviation by the defendant                  commit other crimes’ always has the discretion under §
            from an otherwise law-abiding life.                4A1.3 to depart downward in sentencing.” United States v.
                                                               Meskini, 319 F.3d 88, 92 (2003); United States v. Benkahla,
U.S.S.G. § 5K2.20(b). Application Note 3 to § 5K2.20
                                                               501 F.Supp.2d 748, 758 (2007) (applying the Terrorism
permits me to consider “the defendant’s (A) mental and
                                                               Enhancement and then a downward departure under §
emotional conditions; (B) employment record; (C) record
                                                               4A1.3 to drop the defendant’s criminal history category
of prior good works; (D) motivation for committing the
                                                               from VI back down to I).
offense; and (E) efforts to mitigate the effects of the
offense.”
                                                               Judge George O’Toole has eloquently explained the most
                                                               salient reasons for departing under § 4A1.3 when the
Until his immigration arrest, Mr. Jumaev had no
                                                               Terrorism Enhancement applies:
interactions with law enforcement and held steady
employment in the U.S. for almost ten years. His greatest                  [T]he automatic assignment of a
concern in life was and I imagine still is providing for                   defendant to a Criminal History
his family. Although his discussions with Mr. Muhtorov                     Category VI is not only too blunt
regarding the IJU and IMU and his admiration for them                      an instrument to have genuine
spanned years, he wrote only a single check. It is unclear                 analytical value, it is fundamentally
what his motivation was in doing so, but as I found above,                 at odds with the design of the
it was not a calculated action. He has been in detention                   Guidelines. It can, as it does in
for 76 months and has only three disciplinary incidents, all               this case, import a fiction into
of which related to disagreements with staff. Presentence                  the calculus. It would impute to a
Report at 4, ECF No. 1915. Considering all the evidence,                   defendant who has had no criminal
Mr. Jumaev is most likely to continue with his “otherwise                  history a fictional history of the
law-abiding life” once this case has terminated. I do have                 highest level of seriousness.
some reservation in applying this departure because I am
troubled by Mr. Jumaev’s failure to be fully forthright        United States v. Mehanna, No. 1:09-cr-10017-GAO (D.
with law enforcement during their two interviews with          Mass. April 12, 2012), Sentencing Tr. at 69:14-24, ECF
them in early 2012 and by his testimony at trial revealing     No. 439. The assignment of a Criminal History Category
that his asylum application contained exaggerations.           of VI via the Terrorism Enhancement is purportedly based
Nevertheless, I find that reduction of the offense level by    on the notion that, “even terrorists with no prior criminal
two levels is justified under § 5K2.20. 10                     behavior are unique among criminals in the likelihood of
                                                               recidivism, the difficulty of rehabilitation, and the need for
                                                               incapacitation.” Meskini, 319 F.3d at 92. But:
2. § 4A1.3: Criminal History Departure
 *9 For many of the same reasons that I depart under that                  There is no published statistical
provision, I determine that, if the Terrorism Enhancement                  data demonstrating that defendants
were applicable to Mr. Jumaev’s offenses, his criminal                     convicted of violating 18 U.S.C.
history would be overrepresented and he should benefit                     §§ 2339B, 2339C, or other anti-



               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                        7
United States v. Jumaev, Slip Copy (2018)
   USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 8 of 22
            terrorism statutes−and especially                    *10 The Terrorism Enhancement further exemplifies this
            those convicted of financing offenses                lack of consideration by the Sentencing Commission. 13
            −are any more likely to be recidivists               The Violent Crime Control and Law Enforcement Act of
            than any other first offenders.                      1994 directed the U.S. Sentencing Commission to “amend
            Nothing in the history of U.S.S.G.                   its sentencing guidelines to provide an appropriate
            [§] 3A1.4 would indicate that any                    enhancement for any felony, whether committed within or
            reliable data was used to determine                  outside the United States, that involves or is intended to
            if a person convicted of a material                  promote international terrorism, unless such involvement
            support offense is more likely to be                 or intent is itself an element of the crime.” Pub. L.
            a recidivist.                                        No. 103–322, 108 Stat. 1796 (1994). The Sentencing
                                                                 Commission carried out that directive by promulgating §
James P. McLoughlin, Jr., Deconstructing United States
Sentencing Guidelines Section 3A1.4: Sentencing Failure          3A1.4 of the Sentencing Guidelines. 14 I explained above
in Cases of Financial Support for Foreign Terrorist              that the Terrorism Enhancement in § 3A1.4 functions
Organizations, 28 Law & Ineq. 51, 114-15 (2010)                  by both increasing the offense level and the defendant’s
(footnotes omitted). Furthermore, with respect to Mr.            Criminal History Category, moving the Guidelines range
Jumaev specifically, there is no indication that he is likely    to the far right-hand corner of the prized Sentencing
                                                                 Table.
to recidivate or would be difficult to rehabilitate. 11 If the
Terrorism Enhancement were applicable to Mr. Jumaev’s
                                                                 I have two principal objections to this operation of
offenses, I would depart under § 4A1.3 to lower him back
down to Criminal History Category I.                             the Terrorism Enhancement. 15 First, it is not backed
                                                                 by any empirical evidence. 16 And, second, treating all
                                                                 “terrorists” alike is impermissible under our sentencing
Final Guidelines Range                                           paradigm and has significant ripple effects. This second
At long last, I arrive at the appropriate Guidelines             point I must spend some time on.
range for Mr. Jumaev’s offenses. The offense level is 26,
after applying the enhancement in § 2M5.3(b), finding            While U.S.S.G. § 2M5.3 has an “internal enhancement
inapplicable the Terrorism and Obstruction of Justice            mechanism to calibrate the severity of the sentence to the
Enhancements and the Mitigating Role Adjustment, and             culpability of the conduct and the harm,” McLoughlin,
departing under § 5K2.20. Mr. Jumaev remains at a                supra, at 73, that distinction is lost with the Terrorism
Criminal History Category I. The Guidelines range is,            Enhancement, which frequently results in Guidelines
therefore, 63 to 78 months’ imprisonment with one year to        ranges that equal the maximum statutory sentence and
life of supervised release and a $12,500 to $125,000 fine.
                                                                 fail to differentiate between various levels of conduct. 17
                                                                 For example, the Terrorism Enhancement would punish
B. Rejection of the Guidelines                                   an individual who collects $1,000 for al-Shabaab without
I reject the Sentencing Guidelines in this case and instead      having any contact with the organization, see United
find it appropriate to sentence Mr. Jumaev pursuant to           States v. Moalin, No. 3:10-cr-04246 (S.D. Cal.), Nasir
the factors set forth in 18 U.S.C. § 3553(a). My reasons for     Sentencing Tr. at 18:7-19:8, 25:20-21, ECF No. 468
doing so are multitudinous. Principally, I have concluded        (calculating the Guidelines range as 15 years for § 2339B
this case presents circumstances not adequately taken into       count), the same as someone who maintained direct and
                                                                 continuing contact with a high-ranking member of al-
consideration by the Sentencing Commission. 12 These
                                                                 Shabaab and offered the use of his house as a haven for
points are detailed in the following Section, but include
                                                                 the organization’s fighters and to store bombs and other
Mr. Jumaev’s owing of a debt, his extended period of
                                                                 weapons, see id., Moalin Sentencing Tr. at 50:5-25, ECF
pretrial detention, his prolonged absence from his family,
                                                                 No. 449 (calculating the Guidelines range as 15 years for
his immigration situation, and the lack of rehabilitation
                                                                 § 2339B counts).
programs for him.
                                                                   “Deconstructing defendants and their offenses, and
                                                                   placing both on the spectrum of similar defendants



               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                       8
United States v. Jumaev, Slip Copy (2018)
   USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 9 of 22
  convicted of similar crimes, is classic sentencing           offenses” is an important value in criminal law. George
  practice. It requires nuance and careful discrimination      D. Brown, Notes on A Terrorism Trial - Preventive
  between and among cases and defendants based on the          Prosecution, “Material Support” and the Role of the Judge
  factors enumerated in 18 U.S.C. § 3553. That nuance          After United States v. Mehanna, 4 Harv. Nat’l Sec. J.
  is impossible under a Guideline that is structured as        1, 54 (2012). “We do not treat a purse-snatcher like a
  bluntly as U.S.S.G. [§] 3A1.4.                               rapist, [yet t]he Enhancement reflects a different view: a
                                                               terrorist is a terrorist.” Id. The requirement to view any
 *11 McLoughlin, supra, at 108 (footnotes omitted). As         terrorist as every terrorist goes against the basic principles
demonstrated by the almost universal application of the        of sentencing and the factors set forth in 18 U.S.C. § 3553.
Terrorism Enhancement to crimes related to terrorism, the      Here, the application of the Terrorism Enhancement to
additional findings it requires do not remedy its lack of      Mr. Jumaev’s offenses, the facts of which have proven to
calibration.                                                   be unique and deserving of specific consideration, would
                                                               be cruel and unreasonable.
The Guidelines were developed to “further the
basic purposes of criminal punishment: deterrence,             A just sentence is an act for which a judge is morally
incapacitation, just punishment, and rehabilitation.”          responsible. That responsibility can neither be shunned
U.S.S.G. Ch.1, Pt. A. In enacting the Sentencing
                                                               nor relinquished based on the nature of the crime. 21 We
Reform Act of 1984, “Congress sought reasonable
                                                               must recognize that a human being is the focal point of the
uniformity in sentencing by narrowing the wide disparity
                                                               sentencing process and should not be ignored or dismissed
in sentences imposed for similar criminal offenses
committed by similar offenders.” Additionally, it “sought      because of the inflamed rhetoric of the “war on terror.” 22
proportionality in sentencing through a system that            I am reminded of Judge Learned Hand’s wise comment:
imposes appropriately different sentences for criminal         “If we are to keep our democracy, there must be but one
conduct of differing severity.” Id. As countless others have   commandment: Thou Shalt Not Ration Justice.”
commented, the Terrorism Enhancement runs contrary to
                                                               *13 Let us then begin:
these aims. 18 The circumstances of individuals convicted
of crimes of terrorism (or who intended to promote crimes                  [W]ith the simple recognition that
of terrorism) differ greatly, and sentencing them without                  the Sentencing Guidelines are based
crediting those differences results in disproportionate                    on a fundamental misconception
sentences and disparities in sentencing. Some of the                       about the administration of justice:
distinguishing factors that should be considered are “the                  the belief that just outcomes can
‘materiality’ of their support, the intent with which                      be defined by a comprehensive
they gave the support, the organization to which the                       code applicable in all circumstances,
support was given, the quality and quantum of the                          a code that yields a quantitative
support, the duration of the support, the identifiable harm                measure of justice more easily
caused by the support, and any identifiable victim of the                  generated by a computer than a
support.” McLoughlin, supra, at 100. But the Terrorism                     human being. We must recognize,
Enhancement does not permit consideration of any of                        in other words, that no system
those aspects. 19                                                          of formal rules can fully capture
                                                                           our intuitions about what justice
 *12 In considering the Enhancement, Professor George                      requires.
D. Brown has posited the question: “Is terrorism
sufficiently unique (and dangerous) that it justifies          Kate Stith and Judge José A. Cabranes, Fear of Judging:
a sentencing ‘rule’ that goes against notions of               Sentencing Guidelines in the Federal Courts 168-69
individualized sentences that reflect the inevitable           (1998).
differentiation among criminals?” Brown, supra, 520. The
answer is that it is not. 20 There is no rational basis
for concluding that all individuals labeled as “terrorists”                                 III.
and all crimes of “terrorism” are equal. “Gradation of


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                        9
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 10 of 22
                                                               Manichaean struggle between good and evil. It is clear
                                                               that Mr. Jumaev became a participant in supporting a
  APPLICATION OF 18 U.S.C. § 3553(a) FACTORS
                                                               terrorist organization because of traumatic events in his
In rejecting and varying from the Sentencing Guidelines,       life. The extent to which he was abused and tortured
I am intent on crafting a sentence for Mr. Jumaev that         by the government in Uzbekistan is problematic, but the
is “sufficient, but not greater than necessary ... (A) to      evidence is overwhelming that he and other unfortunate
reflect the seriousness of the offense, to promote respect     citizens of that country were subjected to deprivations
for the law, and to provide just punishment for the offense;   of basic human rights and significant diminishment of
(B) to afford adequate deterrence to criminal conduct;         individual worth. No matter how horrible the language
(C) to protect the public from further crimes of the           and circumstances of the Islamic fundamentalism he
defendant; and (D) to provide the defendant with needed        embraced, he was searching for a structure and belief
educational or vocational training, medical care, or other     system that would validate his existence. That he accepted
correctional treatment in the most effective manner.” 18       or tacitly endorsed versions of Islam favored by militants
U.S.C. § 3553(a)(2). I am also concerned with the nature       is explained more by the social milieu in his exile from
and circumstances of the offense and the history and           home and family than by any doctrinal epiphany.
characteristics of Mr. Jumaev as well as the kinds of
sentences available and the need to avoid unwarranted           *14 In the most favorable terms, Mr. Jumaev sought
sentencing disparities. See id. § 3553(a).                     and gained employment, worked long and arduous
                                                               hours in the United States and all the while maintained
                                                               communication with his wife and family and provided
A. The Nature and Circumstances of the Offense and the         them with financial support. For him, the friendship he
History and Characteristics of the Defendant                   developed with Mr. Muhtorov and the form of Islam
I first consider the nature and circumstances of the offense   he eventually embraced presented a promise of social
and Mr. Jumaev’s history and characteristics. Although         justice that would right the many wrongs he had seen and
Mr. Jumaev’s offense only involves a single check on a         experienced in his homeland of Uzbekistan, his separation
single occasion, the surrounding events are troublesome.       from his family, and his anomie while in the United States.
Mr. Jumaev not only watched and discussed videos that          While the actions of jihadis stem from what many consider
I find to be repulsive in many ways, but he commented          to be misinterpretations of the Holy Quran, Mr. Jumaev
on the videos, saying things like “Hey you, immoral,           took on this cause, in a minimally supportive way, because
hypocrite infidels! Your days are over whether you like        it gave him a sense of purpose and value in the fight against
it or not. Now it is your turn. We will not let you have       social injustice and economic deprivation to which his
peace because God’s promise is true.” Gov’t Ex. 26A at         family and he were subjected.
1. I also am concerned by Mr. Jumaev’s encouragement
of Mr. Muhtorov on his path. See, e.g. Gov’t Ex. 127A          His sentiments and speech were clearly supportive of the
(“[Y]ou’re my teacher. Do you know that Abumumin? ...          IJU and therefore viewed with grave suspicion and little
[L]et me tell you the truth ... when it comes to the matter    sympathy, yet they must be considered for sentencing
with wedding festivities, I think it is you who is really      purposes as reflections of his great need for identification
walking the walk.”). Even if he believed Mr. Muhtorov          rather than as evidence of a deliberate intention to do evil.
to be joking, he could have disagreed with him, distanced      The complete absence of violence in this case provides a
himself from him, or simply not encouraged him.                window into how he saw himself and why he succumbed
                                                               to the pressures he experienced. Such were the causes of
A common recitation in the criminal law regarding              his behavior. To be sure, he was influenced by others,
a defendant’s intent is that we cannot know another            perhaps too easily, but he did not act in any manner as
person’s mind. But Mr. Jumaev’s testimony, his recorded        an instigator or leader or conduit for others to engage in
comments, and interactions with others give an idea of his     similar conduct.
sense of identity and self-perception.

There are reasons why Mr. Jumaev acted as he did               B. The Need for the Sentence Imposed
and they are to be found in his conduct, not in some           The crimes with which Mr. Jumaev has been convicted are
                                                               undoubtedly grave and he must be sentenced accordingly.


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                      10
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 11 of 22
“The material-support statute is, on its face, a preventative    *15 If I imposed a term of imprisonment over
measure−it criminalizes not terrorist attacks themselves,       the time Mr. Jumaev has already served, additional
but aid that makes the attacks more likely to occur.”           disparate consequences are possible or even likely.
Holder v. Humanitarian Law Project, 561 U.S. 1, 35 (2010).      Muslims frequently experience discrimination while
“When it enacted [18 U.S.C.] § 2339B in 1996, Congress          incarcerated. The U.S. Department of Justice Office
made specific findings regarding the serious threat posed       of the Inspector General Reports to Congress on
by international terrorism.” Id. at 29. Specifically, it        Implementation of Section 1001 of the USA Patriot Act
found: “ ‘[F]oreign organizations that engage in terrorist      illustrate the discriminatory treatment Muslims face while
activity are so tainted by their criminal conduct that          incarcerated. 23 Since Mr. Jumaev has been convicted of
any contribution to such an organization facilitates that       crimes related to terrorism, it also would not be unheard
conduct.’ ” Id. (quoting Antiterrorism and Effective            of for him to be subjected to harsher conditions or
Death Penalty Act of 1996 (AEDPA), § 301(a)(7), 110
                                                                restrictions while imprisoned. 24
Stat. 1247, note following 18 U.S.C. § 2339B (Findings
and Purpose) ).
                                                                To Afford Adequate Deterrence to Criminal Conduct
                                                                While the message is clear that the U.S. prosecution
To Reflect the Seriousness of the Offense, To Promote
                                                                of terrorism crimes is unrelenting and inexorable, I am
Respect for the Law, and To Provide Just Punishment
                                                                not positive I would be sending an effective message of
Recognizing the seriousness of the offense, I nevertheless
                                                                deterrence by sentencing Mr. Jumaev to a longer term
find the government’s request for a sentence of 15 years’
                                                                of imprisonment. It is possible instead that I would be
imprisonment to be absurd. The NYU Center on Law
                                                                encouraging the commission of more serious crimes, given
and Security determined that, for the 548 cases from 2001
to 2012 involving crimes inspired by jihadist ideas, the        that the sentence would be the same regardless. 25
average sentence imposed was 14 years’ imprisonment.
Ctr. on Law & Sec., N.Y.U. Sch. of Law, Terrorist Trial         Many commentators warn against unnecessarily lengthy
Report Card: September 11, 2001-September 11, 2011, at          sentences for terrorism offenses. 26 One of the reasons
7 (2011) (emphasis added). The government provides no           behind those warnings is the possibility of further
basis for why Mr. Jumaev’s offenses are above average.          “radicalization” while in prison. “Prison systems
                                                                throughout the world have been and continue to be
To arrive at the appropriate sentence, I ask: What sentence     breeding grounds for radicalism, recruiting grounds for
is necessary to convey that any support for terrorism will      extremist movements, and facilities for the planning and
not be tolerated? I believe that message has been sent          training of radical activities.” Office of the Inspector Gen.,
in this case. Mr. Jumaev has already been subjected to          U.S. Dep’t of Justice, A Review of the Federal Bureau of
significant punishment. He has spent 76 months in pretrial      Prisons’ Selection of Muslim Religious Services Providers
detention in Denver, far from his friends in Pennsylvania       6 (2004), available at https://oig.justice.gov/special/0404/
and even farther from his family in Uzbekistan and              final.pdf. 27
elsewhere. During that period, he has only been able to
see one of his sons via videoconference for 10 minutes. He                      [I]n recent years, policy decisions
has been unable to provide for his family, his longstanding                     have produced shortages in Islamic
role. Mr. Jumaev also has lived with the knowledge that                         leadership .... The lack of trained
his communications with his family and friends were                             leadership ... renders the religion
monitored for an extended period of his life, such that                         at perpetual risk of being guided
his private concerns have become public. At trial, the                          by inmates who can hardly deliver
government even took the liberty of commenting on his                           authoritative spiritual guidance.
absence as a father in his children’s lives. I have no doubt                    More critically, it allows individuals
that Mr. Jumaev’s time in detention and his experience                          to exploit the pulpit, depart from
throughout the investigation and prosecution of this case                       traditional teachings, and even
do not “trivialize” his actions. See Gov’t’s Sentencing                         propagate an extremist agenda.
Statement at 14.



               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                        11
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 12 of 22

SpearIt, Muslim Radicalization in Prison: Responding with         C. The Kinds of Sentences Available
Sound Penal Policy or the Sound of Alarm?, 49 Gonz. L.            Mr. Jumaev has now been in detention for 2,316 days. I
Rev. 37, 60-62 (2013). 28 These factors weigh against a           could impose an additional term of imprisonment up to
protracted additional term of imprisonment.                       the maximum sentence under the statute−15 years for each
                                                                  count, or I sentence him to the time he has already served.
                                                                  Sentencing him to a term of less than the 2,316 days he
To Protect the Public from Further Crimes of the                  has spent in detention would be meaningless at this point.
Defendant                                                         Violations of 18 U.S.C. § 2339B can also carry a maximum
 *16 Mr. Jumaev has no criminal history, and as I have            fine of up to $250,000 and up to a life term of supervised
already stated, there is no indication that he will recidivate.   release.
He is subject to deportation and may never again be out-
of-custody in the U.S. The government contends that               In evaluating the sentences available, I consider the
Mr. Jumaev’s conduct reflects a clear upward trajectory           immigration consequences and available forms of relief
indicating that, “if left unchecked,” Mr. Jumaev would            for Mr. Jumaev as well. I commend defense counsel for
have “endeavored to continue his support and expand               their thoroughness in presenting the related material for
his support.” See Gov’t Argument at 7/18/18 Sentencing            sentencing purposes. See Jumaev’s Sentencing Statement
Hr’g. I am not persuaded in the least bit by this argument.       at 27, ECF No. 1908; Id. Ex. C at 1-4, ECF No.
Mr. Jumaev wrote the $300 check in March 2011. He was             1908-1. Mr. Jumaev is currently in immigration removal
not arrested in this case until March 2012. Yet, during that      proceedings and will likely be detained by Immigration
year period, there is no evidence that he committed any           and Customs Enforcement as soon as he is released from
other crime or attempted to support terrorism in any other        custody in this case. Mr. Jumaev could then be removed
way. When Mr. Muhtorov finally told Mr. Jumaev he was             to Uzbekistan and face an uncertain future there or could
leaving for Turkey, Mr. Jumaev did not write him another          be detained here for an extended period pursuant to the
check to take with him or try to assist him with his travel.      Convention Against Torture. See id. at 4; Yusupov v.
                                                                  Attorney Gen. of United States, 650 F.3d 968, 977-79,
As Judge Janet Hall found in United States v. Ahmad, No.          993 (3d Cir. 2011) (discussing the likelihood that the
3:04-cr-00301-JCH (D. Conn. July 16, 2014), 29 I cannot           petitioners, two Uzbek nationals, would be persecuted
sentence Mr. Jumaev on an unfounded fear that he might            and tortured if removed to Uzbekistan because of their
do something and extend his sentence as a result. I must          religious and political beliefs; explaining the forms of relief
look at what he actually did and determine whether it is          available and the impact of a determination that an alien
likely that he will do something similar or greater in the        is a danger to the security of the U.S.; and holding that
future. From the facts before me, I find it is not.               the government had not proved that the petitioners were
                                                                  a danger to the security of the U.S. so they were entitled
                                                                  to mandatory withholding of removal). Either way, his
To Provide the Defendant with Needed Training, Medical            options are bleak, and continued detention separate from
Care, or Other Treatment                                          this case is most probably in his future. Additionally, as
To my knowledge, the Bureau of Prisons offers no                  a result of his immigration status and the corresponding
relevant training or rehabilitation programs available            proceedings, any period of supervised release imposed will
for Mr. Jumaev and his crimes. 30 This is significant,            likely be an unrealized figment of his sentence.
because there is little hope that the negative influences
resulting from a longer period of incarceration will be
                                                                  D. The Need to Avoid Unwarranted Sentence
balanced with a productive program. I have considered
                                                                  Disparities
the opportunity for Mr. Jumaev to pursue additional
                                                                   *17 Finally, I must consider “the need to avoid
education opportunities while imprisoned 31 but have              unwarranted sentence disparities among defendants with
determined that potential benefit is outweighed by the            similar records who have been found guilty of similar
other factors.                                                    conduct.” 18 U.S.C. § 3553(a)(6). Understanding that
                                                                  the Sentencing Guidelines are not useful for avoiding
                                                                  sentencing disparities in terrorism-related cases, I ordered


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                           12
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 13 of 22
the parties and the Probation Office to submit summaries        At the behest of an FBI confidential informant, Haris
of previous cases in which a defendant has been                 Qamar purchased gift cards worth $80 that he believed
convicted under 18 U.S.C. § 2339B. I have reviewed their        would eventually be sent to ISIS. Mr. Qamar and the
submissions along with the relevant cases listed in the         confidential informant also took pictures of monuments
Sentencing Compilation Matrix prepared by the defense           for a video that ISIS was purportedly making to encourage
in United States v. Ahmad. 32 While the material support        lone wolf terrorist attacks in Washington, D.C. Prior
statutes, 18 U.S.C. §§ 2339A and 2339B, have been among         to the involvement of the FBI, Mr. Qamar bought
the most frequently prosecuted federal anti-terrorism           a plane ticket with the intent of going to join ISIS,
                                                                but he abandoned that plan after his parents took his
statutes, 33 there are only a few cases that bear enough
                                                                passport. Mr. Qamar pleaded guilty, in United States v.
likeness to Mr. Jumaev’s to be worthy of comparison, and
                                                                Qamar, No.1:16-cr-00227 (E.D. Va. 2018), to one count
even these are readily distinguishable. 34 The following        of attempting to provide material support to a foreign
material support cases are similar to this case in that they    terrorist organization. He was sentenced to 102 months’
all involve financial contributions, but as is apparent, each   imprisonment with 20 years of supervised release.
of the defendants engaged in substantially more culpable
conduct than Mr. Jumaev, such as participating in
intricate conspiracy networks, contributing considerable        Raja Lahrasib Khan
sums of money, providing support on a recurrent basis,          Raja Lahrasib Khan supported Kashmir independence
joining in recruitment efforts, plotting against the United     from India, and on a trip to Pakistan, he provided the
States, and so on.                                              leader of the Kashmir independence movement, Ilyas
                                                                Kashmiri, with approximately $200 to $250 to use for
                                                                attacks against the Indian government. Upon his return
Mohamed Bailor Jalloh 35                                        to the United States, he sent funds to Pakistan and
Mohamed Bailor Jalloh provided $340 to an ISIS official         instructed that $300 go to Kashmiri. He later accepted
while he was in Africa with the U.S. National Guard.            $1,000 from an undercover law enforcement agent and
Upon returning to the United States, he provided $500           agreed to provide the funds to Kashmiri. The undercover
to an FBI confidential informant. He also researched            agent claimed to be interested in sending money to
and attempted to purchase an AK-47 assault rifle. Mr.           Kashmiri only if he was working with al-Qaeda. Mr. Khan
Jalloh pleaded guilty, in United States v. Jalloh, No. 1:16-    confirmed that Kashmiri was working with al-Qaeda and
cr-00163 (E.D. Va. 2016), to one count of providing             arranged for the funds to be delivered to him. In United
material support to a foreign terrorist organization. The       States v. Khan, No. 1:10-cr-00240 (N.D. Ill. 2010), Mr.
sentencing judge noted that Mr. Jalloh was willing to take      Khan pleaded guilty to one count of attempting to provide
significant steps to support ISIS and knew that the ISIS        material support to a foreign terrorist organization and
official was plotting attacks in the United States. The         was sentenced to 90 months’ imprisonment with lifetime
judge sentenced him to 132 months’ imprisonment with            supervised release.
five years of supervised release.

                                                                Basaaly Saeed Moalin
Nicholas Young                                                   *18 Basaaly Saeed Moalin collaborated with al-Shabaab
Nicholas Young was a police officer in Washington, D.C.,        leadership and even offered to provide them with a house
and while in that service, provided gift cards intended         in Mogadishu to hide weapons and to advance their
for ISIS to an FBI informant. In United States v. Young,        agenda. In United States v. Moalin, No. 3:10-cr-04246
No. 1:16-cr-00265 (E.D. Va. 2016), Mr. Young was found          (S.D. Cal. 2010), Mr. Moalin and his co-defendants were
guilty by a jury of two counts of attempting to obstruct        found guilty by a jury of conspiracy to provide material
justice in violation of 18 U.S.C. § 1512(c)(2) and of one       support to terrorists, conspiracy to provide material
count of violating § 2339B. He was sentenced to 180             support to a foreign terrorist organization, and conspiracy
months’ imprisonment with 15 years of supervised release.       to launder monetary instruments. Mr. Moalin was also
                                                                found guilty of actually providing material support to
                                                                terrorists and to a foreign terrorist organization. On those
Haris Qamar                                                     five counts, Mr. Moalin was sentenced to a total of


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                      13
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 14 of 22
216 months’ imprisonment with three years of supervised        that the nature and extent of their conduct transcended
release. Observing that Mr. Moalin went so far as to           the relatively small amount of money that was known to
counsel al-Shabaab leadership on how to bury bombs             have been sent in support of al-Shabaab. Ms. Jama was
and other munitions on his property, the judge concluded       sentenced to 144 months’ imprisonment with 10 years of
that his actions “went beyond mere financial support and       supervised release, and Ms. Dhirane was sentenced to 132
entered into the realm of a different type of support,”        months’ imprisonment with 10 years of supervised release.
deserving of three of the years on one of his counts to
run consecutive to the other concurrent 15-year sentences.
Moalin, No. 3:10-cr-04246, Sentencing Tr. at 57:18-22.         Amina Esse
                                                               Amina Esse was involved in the same “Group of
                                                               Fifteen” conspiracy to send funds in support of al-
Mohammad El-Mezain                                             Shabaab. She pleaded guilty, in United States v. Esse,
Both before and after Hamas was designated as a                No. 0:14-cr-00369-MJD (D. Minn. 2014), to one count
foreign terrorist organization in the 1990s, Mohammad          of conspiracy to provide material support to a foreign
El-Mezain served as one of the officers and directors of       terrorist organization. She faced up to 15 years, but
a charitable foundation that operated as its fundraising       prosecutors sought probation because she provided
arm. The foundation supported Hamas by funneling               substantial assistance to the government, including
millions of dollars to committees in Palestine, which          providing testimony against co-conspirators. Ms. Esse
Mr. El-Mezain knew were controlled by Hamas. In                was sentenced to five years’ probation.
United States v. Holy Land Foundation for Relief and
Development, No. 3:04-cr-0240 (N.D. Tex. 2004), Mr. El-
Mezain was found guilty by a jury of a single count of         Amina Farah Ali and Hawo Mohamed Hassan
conspiracy to provide material support to Hamas. For           Similar to the defendants in United States v. Esse and
that crime, he was sentenced to 180 months’ imprisonment       United States v. Jama, Amina Farah Ali and Hawo
with three years of supervised release.                        Mohamed Hassan solicited funds door-to-door in Somali
                                                               neighborhoods in the U.S. and Canada in order to provide
                                                               financial assistance to al-Shabaab. In addition, the
Hinda Osman Dhirane and Muna Osman Jama                        defendants participated in teleconferences encouraging
Hinda Osman Dhirane and Muna Osman Jama organized              listeners to make donations in support of al-Shabaab. Ms.
a “Group of Fifteen,” which included women from                Ali communicated directly with Somalia-based members
Minnesota, Canada, Europe, and Africa, that met                of al-Shabaab who requested financial assistance, yet she
regularly in a chat room to organize and track payments        often claimed the money she solicited was to help the
that would fund al-Shabaab operations. In United               poor. In United States v. Ali, No. 0:10-cr-00187 (D. Minn.
States v. Jama, No. 14-cr-00230 (E.D. Va. 2014), Ms.           2010), a jury found Ms. Ali and Ms. Hassan guilty of one
Dhirane and Ms. Jama were found guilty of one                  count of conspiracy to provide material support to the
count of conspiracy to provide material support to the         designated foreign terrorist organization al-Shabaab, Ms.
terrorist organization al-Shabaab after a bench trial.         Ali guilty of twelve counts of providing material support,
The women were also found guilty of multiple counts            and Ms. Hassan guilty of two counts of making false
of providing material support based on the numerous            statements to authorities. Ms. Ali was sentenced to 240
payments and transfers of funds that occurred after            months’ imprisonment, while Ms. Hassan was sentenced
they joined the conspiracy. Ms. Jama was convicted of          to 120. Both have lifetime terms of supervised release.
making 20 separate payments totaling $4,700, and Ms.
Dhirane was convicted of making approximately $1,000 in
contributions through her participation in the conspiracy      Nima Ali Yusuf
when those payments were made. The sentencing judge             *19 In United States v. Yusuf, No. 3:10-cr-04551 (S.D.
stressed that the defendants solicited and recruited others    Cal. 2010), Nina Ali Yusuf pleaded guilty to one
to contribute funds, and that “there was a substantial level   count of conspiracy to provide material support to a
of organization, subterfuge, and concealment.” United          foreign terrorist organization. She admitted to sending
States v. Jama, No. 14-cr-00230 (E.D. Va. Mar. 31, 2017),      approximately $1,450 to men who were fighting in
Sentencing Tr. at 49, ECF No. 332. The judge concluded         Somalia for al-Shabaab. She also tried to help a co-



               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                   14
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 15 of 22
conspirator recruit a local man to go and fight for the
organization. Ms. Yusuf was sentenced to 96 months’             • He had no direct contact with any members of a
imprisonment with three years of supervised release.              terrorist organization;

                                                                • He did not associate with terrorists or try to support
Mohamud Abdi Yusuf                                                them while in the U.S. Armed Forces or law
Mohamud Abdi Yusuf also solicited and coordinated                 enforcement;
the transfer of funds to al-Shabaab, sending the terrorist
                                                                • He did not take pictures of U.S. monuments to
organization money on several occasions. In one instance,
                                                                  encourage a terrorist attack;
he sent approximately $5,000 to al-Shabaab through a
co-conspirator, funds which al-Shabaab used to obtain           • He did not buy a ticket to travel anywhere;
a vehicle for tactical operations and weapons transport.
Mr. Yusuf pleaded guilty, in United States v. Yusuf, No.        • He did not serve in a leadership role of an
4:10-cr-00547 (E.D. Mo. 2010), to one count of conspiracy         organization;
to provide material support to a designated terrorist
                                                                • He did not solicit funds from other individuals or
organization and three counts of providing material
                                                                  attempt to recruit them;
support to a designated terrorist organization. Mr. Yusuf
was sentenced to 140 months’ imprisonment with two              • He did not provide thousands or hundreds of
years of supervised release.
                                                                  thousands of dollars in support;

                                                                • He did not provide support on multiple occasions;
Hor and Amera Akl
Hor and Amera Akl planned to conceal and provide                • His funds did not result in the purchase of tactical
up to $500,000 to Hizballah on behalf of anonymous                equipment; and
donors in the United States. They met several times
with an individual who, unbeknownst to them, was                • His efforts were not organized or methodical.
a confidential source working for the FBI, and they
eventually agreed to send money to Hizballah leaders          The defendants in the next set of cases exhibited less
by secreting it inside a vehicle they intended to send to     aggravating conduct than the defendants discussed above,
Lebanon via a container ship. The confidential source         but still more extensive than Mr. Jumaev’s in this case. 36
delivered $200,000 to the Akls at their home and told them    They all received sentences of less than what Mr. Jumaev
he would return later in the day with more money. The         has already served.
Akls took steps to begin concealing the money in auto
accessories. Mr. Akl and his wife pleaded guilty, in United
States v. Akl, No. 3:10-cr-00251 (N.D. Ohio 2010), to         Oytun Asyse Mihalik
conspiracy to provide material support to the designated       *20 Oytun Asyse Mihalik sent a total of more than
foreign terrorist organization Hizballah. Mr. Akl also        $2,000 to a person in Pakistan who she believed was
pleaded guilty to additional charges including perjury and    a member of the Taliban and al-Qaeda fighting against
bankruptcy fraud. Ms. Akl was sentenced to 40 months’         the U.S. military. She pleaded guilty, in United States
imprisonment with three years of supervised release, and      v. Mihalik, No. 2:11-cr-00833 (C.D. Cal. 2011), to one
Mr. Akl was sentenced to 75 months’ imprisonment with         count of providing material support to terrorists. She
ten years of supervised release.                              was sentenced to 60 months’ imprisonment and agreed
                                                              that upon the completion of her sentence she would be
All of the above defendants share with Mr. Jumaev that        removed to Turkey.
their convictions involve the provision of money as the
form of material support. Yet Mr. Jumaev’s conduct does
                                                              Jasminka Ramic
not reach the level of any of theirs:
                                                              Ms. Ramic was one of six U.S. citizens from Bosnia
  • He did not attempt to purchase any weapons;               charged, in United States v. Hodzic, No. 4:15-CR-00049
                                                              (E.D. Mo. 2015), with conspiring to provide money,



              © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                    15
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 16 of 22
equipment, and other supplies to jihadists in Syria. She        “It is our duty to see that the force of the state, when it
made three payments totaling $700 to a co-conspirator           is brought to bear through the sentences of our courts,
with the intent that the funds be transferred to, and used in   is exerted with the maximum we can muster of rational
support of, a fellow Bosnian-American who was fighting          thought, humanity, and compassion.” Marvin E. Frankel,
in Syria. While Ms. Ramic was initially motivated to send       Criminal Sentences: Law Without Order 124 (1973). 37
money and items such as hot chocolate mix to help the           Despite the nature of this case or perhaps even because
children impacted by the conflict in Syria, she eventually      of it, I have endeavored with every ounce of my being to
became aware that the individual in Syria was fighting          craft a sentence for Mr. Jumaev that is based on rational
with terrorist groups including ISIS. She pleaded guilty to     thought, humanity, and compassion.
conspiracy to kill or maim persons in a foreign country,
which carried a maximum sentence of 60 months. She was           *21 After profound reflection on all of the factors
sentenced well below the Guidelines range to 36 months’         discussed above, I sentence Defendant Bakhtiyor Jumaev
imprisonment.                                                   to time served, or in effect, 76 months and three days. Mr.
                                                                Jumaev shall be placed on supervised release for a term of
                                                                10 years for each count, to run concurrently. Mr. Jumaev
Ahmed Nasir Taalil Mohamud
                                                                shall immediately pay a special assessment of $200. I find
Ahmed Nasir Taalil Mohamud (Mr. Nasir), the co-
                                                                he does not have the ability, prospects, or resources to pay
defendant of Mr. Moalin (above), was convicted by
                                                                a fine, so I waive the fine in this case.
a jury of only the three conspiracy counts, in United
States v. Moalin, No. 3:10-cr-04246 (S.D. Cal. 2010),
                                                                Within 72 hours of release from the custody of the Bureau
and in contrast with Mr. Moalin, was sentenced to just
                                                                of Prisons, Mr. Jumaev shall report to the Probation
72 months’ imprisonment with three years of supervised
                                                                Office in the District of Colorado. While on supervision,
release. The sentencing judge found Mr. Nasir’s limited
                                                                he is subject to the following conditions that may not be
participation to be an important mitigating factor, noting
                                                                changed or modified without prior authorization of this
that he was involved with collecting and depositing
                                                                Court.
approximately $1,000 into an account but had no direct
contact with the other defendants aside from telephone          1. Mr. Jumaev must not commit any other federal, state,
conversations with Mr. Moalin. The judge further noted             or local crime.
that Mr. Nasir generally led a law-abiding and productive
life and worked to send money home to his family.               2. Mr. Jumaev must not unlawfully possess a controlled
                                                                   substance and must refrain from any unlawful use of a
After reviewing all of the related cases, I again sympathize      controlled substance. 38
with Judge Hall’s remarks: “[N]o matter how I looked
at the cases, there’s absolutely no way to rationalize          3. Mr. Jumaev must cooperate in the collection of DNA
the sentencings that have been imposed around the                  as directed by the probation officer.
country, on persons who have given material support or
committed acts of terrorism.” Ahmad, No. 3:04-cr-00301-         4. After initially reporting to the probation office, Mr.
JCH, Sentencing Tr. at 58:9-13. The take-away message              Jumaev will receive instructions from the Court or the
in this case, though, is that it is clear that Mr. Jumaev’s        probation officer about how and when he must report to
conduct is the least of the least. A sentence of 15                the probation officer, and he must report as instructed.
years, as recommended by the government, would be
                                                                5. Mr. Jumaev must not knowingly leave the federal
disproportionate and would contribute to unwarranted
                                                                  judicial district where he is authorized to reside without
sentencing disparities.
                                                                  first getting permission from the Court or the probation
                                                                  officer.

                            IV.                                 6. Mr. Jumaev must answer truthfully the questions asked
                                                                   by his probation officer.

          THE SENTENCE TO BE IMPOSED                            7. Mr. Jumaev must live at a place approved by the
                                                                  probation officer. If he plans to change where he lives


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                      16
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 17 of 22
  or anything about his living arrangements (such as the
  people he lives with), he must notify the probation         14. If the probation officer determines that Mr.
  officer at least 10 days before the change. If notifying      Jumaev poses a risk to another person (including an
  the probation officer in advance is not possible due          organization), the probation officer may require him to
  to unanticipated circumstances, he must notify the            notify the person about the risk and he must comply
  probation officer within 72 hours of becoming aware of        with that instruction. The probation officer may contact
  a change or expected change.                                  the person and confirm that he has notified the person
                                                                about the risk.
8. Mr. Jumaev must allow the probation officer to visit
   him at any time at his home or elsewhere and must          15. Mr. Jumaev must follow the instructions of
   permit the probation officer to take any items that he       the probation officer related to the conditions of
   or she observes in plain view that are prohibited by the     supervision.
   conditions of Mr. Jumaev’s supervision.
                                                              I find that the Special Conditions of Supervision listed
9. Mr. Jumaev must work full time (at least 30 hours          below are reasonably related to the factors enumerated in
   per week) at a lawful type of employment, unless the       18 U.S.C § 3553(a) and 18 U.S.C. § 3583(d) and do not
   probation officer excuses him from doing so. If he does    constitute a greater deprivation of liberty than reasonably
   not have full-time employment, he must try to find full-   necessary to accomplish the goals of sentencing. Thus, Mr.
   time employment, unless the probation officer excuses      Jumaev is subject to them as well while on supervision.
   him from doing so. If he plans to change where he
   works or anything about his work (such as his position     1. If Mr. Jumaev is deported, he must not thereafter
   or job responsibilities), he must notify the probation       re-enter the United States illegally. If he reenters the
   officer at least 10 days before the change. If notifying     United States legally, he must report to the nearest U.S.
   the probation officer at least 10 days in advance is         Probation Office within 72 hours of his return.
   not possible due to unanticipated circumstances, he
                                                              2. Mr. Jumaev must allow the probation officer to install
   must notify the probation officer within 72 hours of
                                                                 software/hardware designed to monitor computer
   becoming aware of a change or expected change.
                                                                 activities on any computer he is authorized by the
10. Mr. Jumaev must not communicate or interact with             probation officer to use. The software may record any
  someone he knows is engaged in criminal activity. If           and all activity on the computer, including the capture
  he knows someone has been convicted of a felony,               of keystrokes, application information, internet use
  he must not knowingly communicate or interact with             history, email correspondence, and chat conversations.
  that person without first getting the permission of the        A notice will be placed on the computer at the time
  probation officer.                                             of installation to warn others of the existence of the
                                                                 monitoring software on the computer. Mr. Jumaev
11. If Mr. Jumaev is arrested or questioned by a law             must not attempt to remove, tamper with, reverse
  enforcement officer, he must notify the probation              engineer, or in any way circumvent the software/
  officer within 72 hours.                                       hardware.

12. Mr. Jumaev must not own, possess, or have access to a     3. Mr. Jumaev must submit his person, property, house,
  firearm, ammunition, destructive device, or dangerous          residence, office, vehicle, papers, computers (as defined
  weapon (i.e., anything that was designed, or was               in 18 U.S.C. § 1030(e)(1) ), or other electronic
  modified for, the specific purpose of causing bodily           communications, data storage devices, or media to a
  injury or death to another person).                            search conducted by a United States probation officer.
                                                                 Failure to submit to a search may be grounds for
*22 13. Mr. Jumaev must not act or make any agreement            revocation of release. Mr. Jumaev must warn any other
 with a law enforcement agency to act as a confidential          occupants that the premises may be subject to searches
 human source or informant without first getting the             pursuant to this condition. An officer may conduct a
 permission of the Court.                                        search pursuant to this condition only when reasonable
                                                                 suspicion exists that he has violated a condition of
                                                                 his supervision and that the areas to be searched


              © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     17
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 18 of 22
  contain evidence of this violation. Any search must be
  conducted at a reasonable time and in a reasonable
  manner.

4. Mr. Jumaev shall not possess, view, access, or otherwise
   use material that reflects extremist or terroristic views
   or is deemed to be similarly inappropriate by the U.S.
   Probation Office.



            Case Appendix to Memorandum
            Opinion and Order on Sentencing




               © 2018 Thomson Reuters. No claim to original U.S. Government Works.   18
United States v. Jumaev, Slip Copy (2018)
    USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 19 of 22




                                                                 All Citations

                                                                 Slip Copy, 2018 WL 3490886


Footnotes
1      The conversation went as follows:
         BJ: ... has the wedding gift arrived? The wedding gift?
         JM: No, it hasn’t yet.
         BJ: It still hasn’t made it there?
         JM: ... No.
         BJ: Glory be to Allah! But I’ve sent it out last week!
         JM: We haven’t checked the mail yet. We’ll check the mail. [To someone in the back] Have you, by any chance, checked
         the mail recently? A check should be coming-
         BJ: ... God willing, it will. Hmm...
         JM: It hasn’t come yet. It will, God willing...
       Gov’t Trial Ex. 128A at 1.
2      Apart from these rulings on the applicable Sentencing Guidelines provisions, no finding is necessary concerning Mr.
       Jumaev’s remaining objections or clarifications to the Presentence Investigation Report because the controverted matters
       have either been addressed through revisions to the Report or will not be taken into account in imposing the sentence.
       The factual statements in the Report are otherwise adopted.




              © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                          19
United States v. Jumaev, Slip Copy (2018)
    USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 20 of 22
3      “All counts involving substantially the same harm shall be grouped together into a single Group. Counts involve
       substantially the same harm within the meaning of this rule: ... (b) When counts involve the same victim and two or
       more acts or transactions connected by a common criminal objective or constituting part of a common scheme or plan.”
       U.S.S.G. § 3D1.2.
4      “U.S.S.G. [§] 3A1.4 is draconian.” James P. McLoughlin, Jr., Deconstructing United States Sentencing Guidelines Section
       3A1.4: Sentencing Failure in Cases of Financial Support for Foreign Terrorist Organizations, 28 Law & Ineq. 51, 54 (2010).
5      Persisting with its trying habits, the government fails to tailor its filing and argument to Mr. Jumaev.
6      There is an argument that Mr. Jumaev’s offenses intended to promote Mr. Muhtorov’s commission of federal crimes of
       terrorism. It is not advanced by the government and I decline to make it on its behalf.
7      This finding is inconsequential because, as I explain below, I would depart under U.S.S.G. §§ 4A1.3 and 5K2.20 to reduce
       the impact of the Terrorism Enhancement and would still grant a variance resulting in the same sentence.
8      The government recounts that Mr. Jumaev testified that he did not “know” Mr. Muhtorov intended to travel in order to join
       the IJU. A more accurate summary of his testimony is that he did not believe Mr. Muhtorov was traveling for that purpose
       because he thought he was just bragging. See, e.g., Trial Tr. at 1357:2-16, ECF No. 1843.
9      Though not directly relevant to this case, the trial tax or trial penalty as expressed and encouraged in the Sentencing
       Guidelines is yet another reason to reject them.
10     Again, if the Terrorism Enhancement were applicable to Mr. Jumaev’s offenses, I would reduce his offense level to an
       even greater extent under § 5K2.20.
11     As I discuss later, however, no established programs exist in our criminal justice system or in the Bureau of Prisons to
       rehabilitate individuals charged and/or convicted of crimes related to terrorism.
12     It seems I am not alone in my conclusion. Sentencing Commission statistics inform that, of 16 defendants from 2013
       to 2017 for which § 2339B is the only count of conviction, 62.5% or 10 defendants received sentences that were below
       the Guidelines range that were not sponsored by the government. Presentence Report Ex. B at 2, ECF No. 1915-2. The
       average reduction for nongovernment sponsored below-range sentences was 41.1% or 79 months. Id.
13     This analysis may be as relevant or more so in sentencing Mr. Muhtorov, but I provide it here to illustrate the illogical and
       confounding approach of the Guidelines for sentencing individuals convicted of crimes related to terrorism.
14     For descriptions of the evolution of the Guideline, see McLoughlin, supra, at 59-62; Sameer Ahmed, Is History Repeating
       Itself? Sentencing Young American Muslims in the War on Terror, 126 Yale L.J. 1520, 1527-28 (2017).
15     See United States v. Salim, 690 F.3d 115, 126 (2d 2012) (holding that a district court is not required to reject the Terrorism
       Enhancement because it was not the product of empirical research but “may give a non-Guidelines sentence where she
       disagrees with the weight the Guidelines assign to a factor”).
16     See McLoughlin, supra, at 112 (“[W]hen U.S.S.G. [§] 3A1.4 was adopted, the number of the anti-terrorism cases was
       tiny, so there could be no analysis of a statistically reliable group of defendants upon which to build a reliable Guideline.”)
       (footnote omitted); accord Symposium, Convicted Terrorists: Sentencing Considerations and Their Policy Implications,
       8 J. Nat’l Security L. & Pol’y 347, 361 (2016) (Judge Gerald Lee confirming: “The [G]uidelines are not based on any
       empirical research. There has been no study to determine how much time a terrorist should have or how much time a
       drug offender should have; everyone should know that. There is a book that has mathematics in it, but is not based on
       anything other than what is in the book, and it is math. That is all it is.”).
17     This effect was artfully described by the Probation Officer in this case: “What is clear from [my] research is despite a
       significant range of conduct that can produce a conviction for material support, the sentencing guidelines result in a
       nearly identical guideline range in each case, regardless of the underlying conduct. Material support can involve financial
       support, as it did in the defendant’s case, or traveling with the purpose of fighting jihad personally, as it did with his
       codefendant. Other examples include securing and providing weapons for terrorist organizations, providing the location
       of military and government employees to terrorist organizations through hacking activities, and plots to attack military
       bases in the United States and around the world. The difficulty is that under the guidelines, there is no distinction between
       less and more serious offenses, those in which actual harm occurred and those where it did not.” Presentence Report
       Ex. A at 4, ECF No. 1915-1; accord McLoughlin, supra, at 54 (“[T]he Guideline automatically and uniformly increases a
       defendant’s offense level, ensuring a defendant will be sentenced as if his or her offenses are among the most serious
       offenses addressed by the Sentencing Guidelines regardless of where the offense level fits on the spectrum of ‘material
       support.’ ”) (footnotes omitted).
18     As Judge O’Toole opined:
          I do not think the Guidelines applied in accordance with their terms do an adequately reliable job in balancing the
          relevant sentencing factor[s] for several reasons: First, the terrorism adjustments that we referred to when we set the



               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                               20
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 21 of 22
         Guidelines range operate in a way that is too general to be convincingly reliable in a given case. Both the 12-level
         adjustment to the offense level and the automatic assignment of a Criminal History Category VI which are applied in
         any case that can be fairly characterized as a terrorism case, regardless of the particular facts, not only make the
         recommendation unuseful as a guide in a particular case but it is actually, in my view, contrary to and subversive of
         the mission of the Guidelines which is to address with some particularity the unique facts of the given case. And gross
         adjustments such as the ones I’ve referenced do not do that.
      Mehanna, No. 1:09-cr-10017-GAO, Sentencing Tr. at 68:23-69:13.
19    Moreover, as James McLoughlin explains in his comprehensive article on the Terrorism Enhancement, there is an
      argument that Congress has endorsed the substantial increase in the length of prison sentences for crimes related to
      international terrorism resulting from the Terrorism Enhancement. McLoughlin, supra, at 60. But later enacted statutes
      “have sentences far shorter than those mandated by U.S.S.G. [§] 3A1.4, and as such they are inconsistent with the view
      that Congress intended sentences under [that section] to be as severe as they are.” Id. at 60-61 (footnotes omitted).
      Consequently, it does not seem that the Terrorism Enhancement is entitled to more deference, as some have argued.
      See Brown, supra, at 520 (maintaining that the enhancement is entitled to more deference because it originated with
      Congress and not the Sentencing Commission).
20    See United States v. Ressam, 679 F.3d 1069, 1106 (9th Cir. 2012) (Schroeder, J., dissenting) (“The majority’s implicit
      assumption that terrorism is different, and must be treated differently ... flies in the face of the congressionally sanctioned
      structure of sentencing that applies to terrorism as well as all other kinds of federal criminal offenses. Our courts are
      well equipped to treat each offense and offender individually, and we should not create special sentencing rules and
      procedures for terrorists. In presiding over the many terrorism-related cases on their dockets, courts have treated other
      issues in terrorism cases in ways that do not differ appreciably from more broadly applicable doctrines.”).
21    Karen Greenberg, Director of the Center on National Security at Fordham Law, agrees:
         There needs to be some kind of formal understanding of who gets sentenced for what, and with some gradations and
         constancy when it comes to terrorism trials-where it doesn’t all go to the far end of the sentencing spectrum because
         they are labeled terrorists .... We should consider that there are different levels of involvement in terrorism. The material
         support statute, a broad category that has made it easier to figure out how to use the criminal justice system to prosecute
         terrorists, has contributed to this problem. The breadth of the material support statute reduces the need to make the
         kinds of careful distinctions and comparisons that would otherwise be made in criminal sentencing contexts.
      Symposium, supra, at 368-69.
22    I am additionally mindful of the fears that the current practice for sentencing individuals convicted of crimes of terrorism,
      including application of the Terrorism Enhancement, has unintended national security consequences. See Christina
      Parajon Skinner, Punishing Crimes of Terror in Article III Courts, 31 Yale L. & Pol’y Rev. 309, 381 (2013) (arguing that
      the current sentencing system has created a serious national security weakness–“the risk that it is ‘hardening’ terrorist
      defendants against America, and contributing to the development or entrenchment of terrorist networks.”); McLoughlin,
      supra, at 76 (“One must ask what U.S.S.G. [§] 3A1.4 adds to the equation that improves sentencing or anti-terrorism
      policy when it creates such draconian anomalies that (in the case of defendants who are foreign nationals) become
      newsworthy in the countries from which the defendants have come fostering a belief that the U.S. justice system is biased
      and fundamentally unfair.”).
23    See, e.g., Mar. 19, 2018 Report at 5-9. available at https://oig.justice.gov/reports/2018/1803.pdf (documenting tens of
      civil rights and civil liberties complaints by Muslim inmates). Mr. Jumaev’s disciplinary history even includes one instance
      in which he did not receive his food following a Ramadan fast and became angry. Presentence Report at 4.
24    See Human Rights Watch and Columbia Law Sch. Human Rights Inst., Illusions of Justice: Human Rights Abuses in
      U.S. Terrorism Prosecutions 131-51 (2014), available at https://www.hrw.org/report/2014/07/21/illusion-justice/human-
      rights-abuses-us-terrorism-prosecutions.
25    See Joshua L. Dratel, The Literal Third Way in Approaching “Material Support for Terrorism”: Whatever Happened to
      18 U.S.C. § 2339B(c) and the Civil Injunctive Option?, 57 Wayne L. Rev. 11, (2011) (discussing the theory of Italian
      philosopher and criminologist Cesare Beccaria that “the lack of any distinction between punishments for crimes of unequal
      kind or degree creates a dangerous and counterproductive equation: an offender contemplating two offenses, a greater
      and a lesser, that are punished alike is presented no disincentive to forego the greater for the lesser. If the punishments
      are identical, there is no greater risk in attempting the greater.”).
26    See, e.g., Ahmed, supra, at 1566 (“[N]ot only do lengthy sentences hinder rehabilitation, but they can also promote
      recidivism, especially in the terrorism context.”); Parajon Skinner, supra, at 381 (“The risk that terrorists will harden in




              © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                                21
United States v. Jumaev, Slip Copy (2018)
  USDC IN/ND case 2:16-cr-00150-JVB-APR document 57-1 filed 08/13/18 page 22 of 22
      the U.S. prison system, or, in ordinary criminal language ‘recidivate,’ is at least in part a function of their experience in
      prison, inclusive of their perceptions of the process behind the punishment.”).
27    “Inmates can be radicalized in many ways, including through the delivery of anti-U.S. sermons, exposure to other radical
      inmates, or the distribution of extremist literature .... While radicalization does not necessarily lead inmates to join terrorist
      organizations, it can, upon their release, lead them to attend and serve in radical mosques or obtain religious education
      overseas in locations that provide further opportunities for radicalization and terrorist recruitment.” Office of the Inspector
      Gen., U.S. Dep’t of Justice, A Review of the Federal Bureau of Prisons’ Selection of Muslim Religious Services Providers
      6-7 (2004), available at https://oig.justice.gov/special/0404/final.pdf.
28    Accord Office of the Inspector Gen., supra, at 6-7, (“This freeze on hiring Muslim chaplains implicates prison security and
      presents counterterrorism concerns. Without a sufficient number of Muslim chaplains on staff, inmates are, according
      to the Chief of the Chaplaincy Services Branch and the ten BOP Muslim chaplains, much more likely to lead their own
      religious services, distort Islam, advocate Prison Islam, and espouse extremist beliefs.”).
29    Ahmad, No. 3:04-cr-00301-JCH, Sentencing Tr. at 32:8-11, ECF No. 220 (“I don’t think it’s right to act on what I would
      call an unfounded fear that a defendant might do something, like a terrorist act, and therefore we should just lock that
      person up forever .... I think I need to be conscious of assessing the nature and circumstances of what the defendants
      did and not merely react to that title as ascribed to this case.”).
30    See Ahmed, supra, at 1567 (2017) (explaining that programs focused on rehabilitating individuals convicted of terrorism
      offenses have not been instituted in American prisons); United States v. Bell, 81 F.Supp.3d 1301, 1318 (M.D. Fla.
      2015) (citing testimony by a Federal Bureau of Prisons representative that “the BOP currently has no programs for de-
      radicalizing prisoners convicted of crimes of terrorism”).
31    See Spearit, supra, at 78 (“The best course to successful return to society is educational training on the inside.
      Although, there is little empirical research on whether education reduces recidivism, education may militate against
      extremism directly, since groups like al-Qaeda have been known to prey on uneducated individuals to conduct their
      violent biddings.”).
32    Ahmad, No. 3:04-cr-00301-JCH (D. Conn. June 16, 2014), Babar Ahmad’s Memorandum in Aid of Sentencing Ex. N,
      ECF No. 179-14.
33    Charles Doyle, Cong. Research Serv., R41333, Terrorist Material Support: An Overview of 18 U.S.C. § 2339A and §
      2339B (2016), available at https://fas.org/sgp/crs/natsec/R41333.pdf.
34    A comprehensive table of cases in which a defendant was sentenced for charges under 18 U.S.C. § 2339 is attached
      as an Appendix to this Order.
35    Mr. Jalloh was charged after the maximum term of imprisonment for a conviction under 18 U.S.C. § 2339B was raised
      from 15 years to 20 years, as were Nicholas Young, Haris Qamar, Hinda Osman Dhirane, and Muna Osman Jama.
36    I acknowledge that the sentences of these defendants was likely impacted by plea bargaining, but I nevertheless find
      them to be more similarly situated to Mr. Jumaev than those who organized complex funding and recruitment schemes
      or provided direct support for attacks and violent activities. Furthermore, as I have already explained, I refuse to employ
      any sort of trial “tax.”
37    While the U.S. Sentencing Commission and its Guidelines were envisioned by Judge Frankel, Guidelines such as
      those applicable for offenses related to terrorism, under which defendants are punished uniformly for dissimilar conduct,
      exacerbate the infirmities in our justice system that he sought to redress.
38    I waive the mandatory drug testing provision of 18 U.S.C. §§ 3563(a)(5) or 3583(d), because the Presentence Report
      indicates a low risk of future substance abuse by Mr. Jumaev.


End of Document                                                 © 2018 Thomson Reuters. No claim to original U.S. Government Works.




              © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                                  22
